                           DECLARATION OF IAN AUSTIN ROSE

I, Ian Austin Rose, make the following declaration based on my personal knowledge and
declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is
true and correct:

1.     I am a practicing attorney licensed to practice before the State of Maryland, as well
       as several federal courts. Since September 2021, I have been employed at Amica
       Center for Immigrant Rights, where I am currently a Managing Attorney. I am over
       the age of 18 and am competent to testify regarding the matters described below.

2.     Working within a department of Amica Center called the Immigration Impact Lab, I bring
       federal litigation on behalf of detained non-citizens along the East Coast. I focus on habeas
       petitions and class-wide detention litigation in federal district court. I also litigate Petitions
       for Review in the federal circuit courts.

3.     In my position, I frequently represent or supervise those representing non-citizens with
       final removal orders issued by an Immigration Judge (IJ) in removal proceedings under 8
       U.S.C. § 1229a, non-citizens with reinstated removal orders issued by the Department of
       Homeland Security (DHS) pursuant to 8 U.S.C. § 1231(a)(5), and non-citizens with Final
       Administrative Removal Orders issued by DHS pursuant to 8 U.S.C. § 1228(b).

4.     I currently represent a non-citizen with a final removal order and a final grant of protection
       under the Convention Against Torture (CAT) whom Immigration and Customs
       Enforcement (ICE) appears to be attempting to remove to an alternative country not
       designated on his removal order. The client, who I will refer to as Rafael, is from El
       Salvador. He entered removal proceedings under 8 U.S.C. § 1229a (Section 240
       proceedings) in April 2024 and has been in ICE detention since then. My colleague at
       Amica Center represented Rafael in his removal proceedings.

5.     In November 2024, an IJ granted Rafael CAT protection, blocking his removal to El
       Salvador due to the high risk he would be tortured there. The IJ designated El Salvador as
       the country of removal and deferred his removal there. No alternative country was
       designated. DHS waived appeal, rendering the removal order and CAT grant final in
       November 2024.

6.     As of today, March 17, 2025, Rafael remains in ICE custody despite winning CAT
       protection four months ago. In January 2025, ICE notified him in writing that he would
       receive a custody review under 8 C.F.R. § 241.4 on or about February 19, 2025. Rafael
       provided release information to ICE in advance of the custody review date, at which non-
       citizens in Rafael’s situation are routinely released. However, one month later, neither
       Rafael nor his counsel have received a custody decision from ICE. Counsel has repeatedly
       followed up with ICE to inquire about the delay. Rafael’s assigned Deportation Officer
       stated by email that ICE is looking for a “safe third country” to which to remove Rafael.
       He also said that he is waiting for information on next steps from his superiors.




                                                                                          EXHIBIT J
7.     At the beginning of March, counsel sent an email to the Deportation Officer, along with
       other ICE officials, expressing Rafael’s fear of returning to any alternative country due to
       the risk that the alternative country would in turn deport him to El Salvador. Rafael
       furthermore expressed a fear of return to specific countries surrounding El Salvador,
       including Mexico, Honduras, and Guatemala. Counsel requested that ICE provide her with
       notice of its intent to deport Rafael to a specific country, should it identify such a country.
       Two weeks later, no one from ICE has responded to the email. Rafael remains detained,
       unaware of whether ICE intends to remove him to an alternative country and, if so, which
       country that is.


I declare under penalty of perjury that the above information is true and correct to the
best of my knowledge.

Executed this 17th day of March 2025 at Washington, D.C.


                                                              ____________________
                                                              Ian Austin Rose
